         Case 21-40834-drd11                       Doc 4       Filed 07/01/21 Entered 07/01/21 17:19:53                             Desc Main
                                                              Document      Page 1 of 5
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Western
 ____________________ District of _________________
                                  Missouri
                                        (State)
 Case number (If known): _________________________
                          21-40834                 Chapter _____
                                                            11
                                                                                                                                    
                                                                                                                                    x Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________
                                               Interstate Underground Warehouse and Industrial Park, Inc.



 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___ 3 – ___
                                                      1 ___
                                                          1 ___
                                                             3 ___
                                                                0 ___
                                                                   6 ___
                                                                      4 ___
                                                                         0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                              8201 East 23rd Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Kansas City                 MO         64129
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Jackson
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                   www.kcinterstate.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
         Case 21-40834-drd11                Doc 4        Filed 07/01/21 Entered 07/01/21 17:19:53                               Desc Main
                                                        Document      Page 2 of 5
Debtor        Interstate Underground Warehouse and Industrial Park,
              _______________________________________________________        Inc.                                    21-40834
                                                                                              Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          X None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 9 ___
                                                    3 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          X Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
          Case 21-40834-drd11              Doc 4        Filed 07/01/21 Entered 07/01/21 17:19:53                                Desc Main
                                                       Document      Page 3 of 5
Debtor           Interstate Underground Warehouse and Industrial Park,
                _______________________________________________________     Inc.                                     21-40834
                                                                                            Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases       
                                         X No
       filed by or against the debtor
       within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10.   Are any bankruptcy cases          
                                         X No
       pending or being filed by a
       business partner or an             Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                    District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                       MM / DD / YYYY
       attach a separate list.                     Case number, if known ________________________________



 11.   Why is the case filed in this     Check all that apply:
       district?
                                         
                                         X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        No
       possession of any real            
                                         X Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.

                                                  
                                                  X   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                     Other _______________________________________________________________________________



                                                                              8201 E. 23rd Street
                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________
                                                                             Kansas City
                                                                            _______________________________________         _______
                                                                                                                             MO       ________________
                                                                                                                                      64129
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                     No
                                                  
                                                  X   Yes. Insurance agency ____________________________________________________________________
                                                                               IPFS Corporation

                                                           Contact name     ____________________________________________________________________

                                                           Phone            866-412-2561
                                                                            ________________________________




               Statistical and administrative information




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
          Case 21-40834-drd11                Doc 4        Filed 07/01/21 Entered 07/01/21 17:19:53                                 Desc Main
                                                         Document      Page 4 of 5
Debtor        Interstate Underground Warehouse and Industrial Park, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
                                                                                                                       21-40834
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         X Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                         
                                         X 200-999

                                          $0-$50,000                        
                                                                             X $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  
                                                                             X $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            07/01/2021
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              /s/ Leslie Reeder
                                             _____________________________________________                   Leslie Reeder
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                    Chief Executive Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
          Case 21-40834-drd11            Doc 4         Filed 07/01/21 Entered 07/01/21 17:19:53                             Desc Main
                                                      Document      Page 5 of 5
Debtor        _______________________________________________________
               Interstate Underground Warehouse and Industrial Park,          Inc.                            21-40834
                                                                                        Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        /s/ Pamela Putnam
                                          _____________________________________________            Date       07/01/2021
                                                                                                              _________________
                                           Signature of attorney for debtor                                   MM    / DD / YYYY



                                            Pamela Putnam
                                          _________________________________________________________________________________________________
                                          Printed name

                                          _________________________________________________________________________________________________
                                          Armstrong Teasdale LLP
                                          Firm name
                                           2345 Grand Blvd. Suite 1500
                                          _________________________________________________________________________________________________
                                          Number     Street
                                           Kansas City
                                          ____________________________________________________            MO
                                                                                                         ____________   64108
                                                                                                                      ______________________________
                                          City                                                           State        ZIP Code

                                            816-221-3420
                                          ____________________________________                            pputnam@atllp.com
                                                                                                         __________________________________________
                                          Contact phone                                                  Email address



                                           61158
                                          ______________________________________________________ ____________
                                                                                                  MO
                                          Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
